Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 1 of 27




                     EXHIBIT 1
Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 2 of 27




                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ARIZONA

                             ___________________



   Fund for Empowerment, et al.,)
                                )
                  Plaintiffs,   )        2:22-cv-02041-GMS
   v.                           )
                                )        Phoenix, Arizona
   City of Phoenix, et al.,     )        March 29, 2024
                                )        3:03 p.m.
                    Defendants. )
   _____________________________)



               BEFORE:    THE HONORABLE G. MURRAY SNOW, CHIEF JUDGE

                   REPORTER'S TRANSCRIPT OF PROCEEDINGS


                              MOTION TO DISMISS




   Official Court Reporter:
   Teri Veres, RMR, CRR
   Sandra Day O'Connor U.S. Courthouse, Suite 312
   401 West Washington Street, Spc. 38
   Phoenix, Arizona 85003-2151
   (602) 322-7251


   Proceedings Reported by Stenographic Court Reporter
   Transcript Prepared by Computer-Aided Transcription

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 3 of 27
                                                                     2



 1                              A P P E A R A N C E S

 2

 3   ON BEHALF OF PLAINTIFFS:

 4        AMERICAN CIVIL LIBERTIES UNION
          BY: Benjamin L. Rundall, Esq.
 5             Jared G. Keenan, Esq.
          2712 N. 7th Street
 6        Phoenix, Arizona 85006

 7   ON BEHALF OF DEFENDANT CITY OF PHOENIX:

 8        PIERCE COLEMAN, PLLC
          BY: Aaron Dean Arnson, Esq.
 9        7730 E. Greenway Road
          Suite 105
10        Scottsdale, Arizona 85260

11   ON BEHALF OF THE INTERVENORS:

12        TULLY BAILEY, LLP
          BY: Ilan Wurman, Esq.
13        11811 N. Tatum Boulevard
          Unit 3031
14        Phoenix, Arizona 85028

15

16

17

18

19

20

21

22

23

24

25

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 4 of 27
                                                                           15



 1   and in the news generally.       So I think a lot of the focus has

 2   been on the Zone, but our case has always been about the

 3   entire City of Phoenix and we believe that these actions are

 4   still ongoing throughout the City.

 5               As far as the Zone, obviously, we've asked for a

 6   Rule 16 conference; but we're in contact with our clients.            We

 7   still go down to the Zone.       The Human Service Campus, which

 8   has changed its name, is still in the Zone.         It's our belief

 9   and understanding that the City is still telling people to go

10   to the Zone or taking people to the Zone.

11               So I don't think that -- in terms of the Zone, I

12   don't think that necessarily changes the equation before the

13   Court in terms of this Motion to Dismiss on standing.           I think

14   standing is still appropriate, and even thinking about the

15   Zone, well, sure, if the Zone was the only place in the City,

16   Your Honor, where plaintiffs' rights could be violated, I

17   think then standing might have to be reevaluated; but that's

18   not true.    That's never been true.     Plaintiffs have always

19   claimed that anywhere in the City of Phoenix they might have

20   their rights violated.

21               THE COURT:     What do I do about policies that have

22   been promulgated since you filed this lawsuit that as far as I

23   know are permanent policies by the City of Phoenix?

24               MR. RUNDALL:    Sure.   I think we can go back to any

25   city or any entity that's challenged on an injunction, Your

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 5 of 27
                                                                       16



 1   Honor.   The case law is fairly clear that sometimes those

 2   entities want to change the policies and tell the Court,

 3   "We're not doing that anymore.       We're not engaging in that

 4   behavior anymore."

 5              First off, Your Honor, we don't think that's true.

 6   That's why we haven't voluntarily dismissed our complaint.

 7   That's why we want to conduct discovery and we want to have

 8   the opportunity to conduct discovery; but, two, even if that

 9   were true, even if the policies changed, it's still

10   appropriate for this Court to make determinations about the

11   behavior that occurred so that it can ensure that that doesn't

12   happen in the future.

13              Your Honor, I would also note that in terms of

14   plaintiffs' complaint, obviously, we've alleged other claims

15   against the City that are largely unaddressed by the

16   intervenors and that includes our Fourth Amendment claim, the

17   Lavan claim.

18              They talked a little bit about it at the hearing;

19   but, again, at this point in terms of the Motion to Dismiss,

20   it feels like they're trying to insert their interpretation of

21   fact or interpretations of fact in their favor instead of

22   looking at the complaint and in our complaint I -- again, Your

23   Honor, I don't think anything has changed.

24              Sure, the City has cleared out the Zone; but

25   plaintiffs still contend that the City engages in a process of

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 6 of 27
                                                                         17



 1   taking people's property in violation of the Fourth Amendment,

 2   and that risk still applies to the members of Fund for

 3   Empowerment.    It still applies to Ronnie.

 4               THE COURT:     I mean, I agree with you except for my

 5   one concern is the City did set forth a policy.          It was a

 6   policy that was set forth in terms of the cleanout of the

 7   Zone, but I had the impression that the policy also was

 8   citywide in terms of the seizure of property of those who were

 9   unhoused.

10               It does seem to me that if the City is promulgated

11   and trained on the policy, it does weigh in to whether or not

12   there is a likelihood of violation sufficiently established in

13   the complaint as it stands now.       Do you want to address that?

14               MR. RUNDALL:    I do, Your Honor.    You can tell that I

15   do.   I think that's a great point, Your Honor, and that's why

16   we want discovery to proceed.       It's very possible that the

17   City's gonna provide the information demonstrating that

18   they've significantly changed their policies and practices and

19   that now there's not a substantial likelihood of risk that

20   plaintiffs alleged, but we're not there and we don't agree

21   that that's the case.

22               That's why we filed for the Rule 16 conference, Your

23   Honor.   We want to engage in discovery so that we can explore

24   those claims and see what's going on.        The City coming up here

25   today or saying to the news media, "Hey, we've changed our

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 7 of 27
                                                                      18



 1   policies and now the plaintiffs are no longer at risk of these

 2   types of violations," that just doesn't cut it at this stage.

 3   We should be able to do discovery to see what's going on.

 4              And to be fair, Your Honor, I could pull out

 5   declarations from people we've collected who are currently

 6   unhoused and they will tell you that's not true, that their

 7   property is still being destroyed.       It's not being stored, as

 8   this Court ordered pursuant to the injunction, and that

 9   they're being cited for sleeping or camping outside.

10              Your Honor, the last issue that I want to address is

11   I think that we have to look at the intervenors' initial

12   concerns when they asked to join permissively in this case,

13   and it was about their State Court case and public nuisance

14   case; and as they, you know, say in their reply, that case has

15   been resolved.

16              So I don't think that there's anything preventing us

17   from now moving this case forward.       The injunction you issued

18   and modified in October, no party has moved to stay that

19   injunction.   Even when Grants Pass was taken up on cert by the

20   Supreme Court, the City did not move to stay your injunction.

21              If Grants Pass is decided by the Supreme Court and

22   significantly changes the standing requirements for the

23   plaintiffs, I will admit, Your Honor, we might have to come

24   back and then look at standing at that time.

25              THE COURT:    What if Grants Pass undercuts the

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 8 of 27
                                                                       19



 1   current view in the Ninth Circuit of the meaning of the Eighth

 2   Amendment?

 3               MR. RUNDALL:    Say that one more time, Your Honor.

 4               THE COURT:     What if it undercuts the meaning of the

 5   Eighth Amendment as currently interpreted by the Ninth

 6   Circuit?

 7               MR. RUNDALL:    Well, Your Honor, I'm smiling and

 8   you're smiling because I think we both know that if the

 9   Supreme Court makes the determination that fundamentally

10   changes standing under the Eighth Amendment for these types of

11   claims, well, plaintiffs' Eighth Amendment claim may

12   significantly change, if not be subject to dismissal.

13               THE COURT:     Like might evaporate.

14               MR. RUNDALL:    It might evaporate, Your Honor, but

15   does that change the Fourth Amendment claims under Lavan?

16   Does that change the create a danger claim?

17               THE COURT:     If you have affidavits from either

18   members of Fund for Empowerment or from the plaintiffs

19   themselves who indicate that their property has recently been

20   destroyed or taken without notice, why don't you file them.

21               MR. RUNDALL:    Your Honor, thank you for that

22   question.    When we were here last time, you said, "Plaintiffs,

23   you're allowed to come back to us, but I want you to make sure

24   that you have all of your evidence lined up," and we want to

25   do that; but we think that there's critical information that

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 9 of 27
                                                                     26



 1                         REPORTER'S CERTIFICATION

 2

 3                   I, TERI VERES, do hereby certify that I am duly

 4   appointed and qualified to act as Official Court Reporter for

 5   the United States District Court for the District of Arizona.

 6                   I FURTHER CERTIFY that the foregoing pages

 7   constitute a full, true, and accurate transcript of all of

 8   that portion of the proceedings contained herein, had in the

 9   above-entitled cause on the date specified therein, and that

10   said transcript was prepared under my direction and control.

11                   DATED at Phoenix, Arizona, this 12th of

12   April, 2024.

13
                                                 s/Teri Veres
14                                           TERI VERES, RMR, CRR

15

16

17

18

19

20

21

22

23

24

25

                         UNITED STATES DISTRICT COURT
Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 10 of 27




                      EXHIBIT 2
Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 11 of 27




                         UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ARIZONA

                             ___________________



   Fund for Empowerment, et al.,)
                                )
                  Plaintiffs,   )        NO. 2:22-cv-02041-GMS
   v.                           )
                                )        Phoenix, Arizona
   City of Phoenix, et al.,     )        December 14, 2022
                                )        3:05 p.m.
                    Defendants. )
   _____________________________)



               BEFORE:    THE HONORABLE G. MURRAY SNOW, CHIEF JUDGE

                   REPORTER'S TRANSCRIPT OF PROCEEDINGS


                       PRELIMINARY INJUNCTION HEARING




   Official Court Reporter:
   Teri Veres, RMR, CRR
   Sandra Day O'Connor U.S. Courthouse, Suite 312
   401 West Washington Street, Spc. 38
   Phoenix, Arizona 85003-2151
   (602) 322-7251


   Proceedings Reported by Stenographic Court Reporter
   Transcript Prepared by Computer-Aided Transcription

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 12 of 27
                                                                      2



 1                               A P P E A R A N C E S

 2

 3   ON BEHALF OF PLAINTIFFS:

 4        AMERICAN CIVIL LIBERTIES UNION, FOUNDATION OF ARIZONA
          BY: Benjamin L. Rundall, Esq.
 5             Jared G. Keenan, Esq.
          3707 N. 7th Street
 6        Suite 235
          Phoenix, Arizona 85014
 7
          SNELL & WILMER, LLP
 8        BY: Delilah R. Cassidy, Esq.
               Edward J. Hermes, Esq.
 9        1 E. Washington Street
          Suite 2700
10        Phoenix, Arizona 85004-2556

11   ON BEHALF OF DEFENDANTS:

12        PIERCE COLEMAN, PLLC
          BY: Aaron Dean Arnson, Esq.
13             Trish Stuhan, Esq.
          7730 E. Greenway Road
14        Suite 105
          Scottsdale, Arizona 85260
15

16

17

18

19

20

21

22

23

24

25

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 13 of 27
                                                                          3



 1                                  I N D E X

 2

 3   WITNESSES:               DIRECT       CROSS       REDIRECT       RECROSS

 4   RACHEL MILNE
     By Ms. Cassidy                        13
 5   By Ms. Stuhan                                     22

 6   SCOTT HALL
     By Mr. Arnson            54
 7

 8   RONNIE LEE MASSINGILLE
     By Mr. Keenan          77
 9

10   BRIAN FREUDENTHAL
     By Mr. Arnson            83
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 14 of 27
               Rachel Milne - Cross-Examination by Ms. Cassidy         15



 1   Q.     This plan, it only applies in the Zone; is that correct?

 2   A.     This plan for abandoned property was specific for our

 3   pilot program for our cleanups in and around the Human

 4   Service's campus, yes.

 5   Q.     All right.

 6              THE COURT:     You know what, Ms. Milne, we do allow

 7   witnesses to unmask.      So you get the privilege alone in the

 8   courthouse today.

 9              THE WITNESS:    Okay.

10              THE COURT:     Make sure that everybody can understand

11   you.

12              THE WITNESS:    Okay.

13              THE COURT:     Now, I took your last answer to be

14   "yes," basically, that policy only applies in the Zone?

15              THE WITNESS:    Yes, for a specific -- the enhanced

16   cleanups around the Human Service campus.

17              THE COURT:     Yeah, thank you.

18   BY MS. CASSIDY:

19   Q.     You state in your declaration that you -- that the plan

20   is designed to provide adequate notice; is that correct?

21   A.     Correct.

22   Q.     What does "adequate notice" mean?

23   A.     So we would want anyone who was in the affected area to

24   know that this cleanup was coming and to be well aware of what

25   was gonna happen on the day of, the services available to them

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 15 of 27
                                                                          25



 1              THE COURT:     All right.

 2              MR. RUNDALL:     Your Honor, first, as I think you

 3   already mentioned at the beginning of the hearing today, there

 4   is two separate issues when we're talking about sweeps or

 5   raids and property specifically.

 6              So this lawsuit -- we've heard a lot about the Zone,

 7   but it's not just about the Zone.         It's about all four corners

 8   of the City and it's about activities, whether we want to call

 9   them sweeps or raids, that are occurring in other parts of the

10   City.

11              Indeed, if you go through the City defendants'

12   response, they admit that in January of 2022 they stopped

13   doing these types of sweeps in the Zone because of a DOJ

14   investigation.    We haven't gotten in to that DOJ

15   investigation.    I don't think it's relevant for today's

16   hearing, but importantly they didn't stop doing those sweeps

17   in other parts of the City.

18              We provided declarations from five individuals.

19   Some of those individuals know people who were in an

20   unsheltered community.      Some of those individuals work for

21   non-profits within this space.         One of these individuals --

22              THE COURT:     There is one that talks about viewing

23   any -- I think it was November of 2022.         It was the veteran

24   person and he seemed to witness some property being taken.           He

25   doesn't indicate whether it was destroyed.         Didn't seem to me

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 16 of 27
                                                                                  30



 1   representation, Your Honor.

 2              THE COURT:     All right, thank you.

 3              MR. ARNSON:     Thank you.

 4              THE COURT:     Mr. Rundall, go ahead.     Thank you for

 5   allowing me to interrupt your argument.

 6              MR. RUNDALL:     Yes, of course, Your Honor.

 7              In terms of the representations even made just by

 8   the City, I think Mr. Massingille's declaration is really

 9   important here, Your Honor.       He's currently unsheltered.           In

10   fact, we heard from Mr. Massingille and we heard from some of

11   the folks that are here today that there are sweeps going on

12   today, including a sweep in the Zone where there's caution

13   tape up.

14              That was past our deadline to submit new pictures or

15   evidence, Your Honor, but we just emphatically disagree that

16   they have -- well, first off, they don't have a policy --

17              THE COURT:     Well, let me ask, Mr. Rundall.         What

18   kind of injunction do you want?

19              MR. RUNDALL:     Certainly.

20              THE COURT:     First off, it seems to me -- let's be

21   specific about our arguments.

22              Ms. Milne's testimony suggests to me that at least

23   to the extent that this now is the City policy inside the

24   Zone, I'm not sure that inside the Zone you've got a

25   likelihood of success on a Fourteenth Amendment or even a

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 17 of 27
                                                                            31



 1   Fourth Amendment violation.

 2              I'll hear you to the contrary, but it certainly

 3   seems to me like at least the City does have evidence that

 4   they've implemented a procedure that I'm not sure is likely to

 5   deprive anybody of property that isn't abandoned or at least I

 6   don't see how.    If you have -- inside the Zone.

 7              Outside the Zone we've got no evidence at all from

 8   the City as to what their policy is, other than the

 9   affidavits, somewhat dated, but nevertheless within a relevant

10   time period that indicates that folks have lost property

11   outside the Zone.

12              So my first question to you is:        What kind of

13   injunction do you want for operations outside the Zone?

14              MR. RUNDALL:     Certainly, Your Honor.      I think that

15   an injunction prohibiting the City from engaging in sweeps

16   that displace people from their property outside the Zone

17   would be appropriate.

18              THE COURT:     Well, I'm not inclined to do that

19   because I think the injunction I've already said I'm inclined

20   to enter ought to take care of that to the extent that they

21   can't use the citation -- the criminal law citations as a

22   basis for removal unless they can establish that the person is

23   voluntarily homeless, correct?

24              MR. RUNDALL:     Correct.

25              THE COURT:     So on what other basis -- I mean, I

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 18 of 27
                                                                      32



 1   suppose they might have other bases, other criminal law

 2   violations that they might be able to use to remove somebody

 3   and I'm disinclined to have an injunction that sweeps so

 4   broadly that it would take into account other bases other than

 5   those statutes.    Do you understand -- other than the

 6   ordinances that are constitutionally problematic.

 7              Do you understand what I'm saying?

 8              MR. RUNDALL:     Yes, your Honor.

 9              THE COURT:     And do you understand how the

10   proposal -- or at least my understanding of your proposed

11   injunction sweeps too broadly?

12              MR. RUNDALL:     I understand --

13              THE COURT:     It does seem to me, though -- I am -- I

14   am concerned on the basis of the record as it now exists as it

15   pertains to what happens to the property of somebody outside

16   the Zone when -- when it is taken by the City and I would be

17   welcome -- I would welcome any suggestions you have that would

18   be injunctive relief as it pertains to property taken into the

19   City's possession outside the Zone.

20              So do you have a suggestion for me?

21              MR. RUNDALL:     I do, Your Honor, and I think perhaps

22   looking at Lavan v. City of Los Angeles and the injunction

23   that was awarded by the District Court there may be helpful.

24              If I might read, Your Honor?

25              THE COURT:     Sure.

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 19 of 27
                 Scott Hall - Direct Examination by Mr. Arnson              60



 1   then go to the next proper resource.

 2               Sometimes it goes to the Streets Department if it's

 3   on that kind of property, sometimes Public Works.          Sometimes

 4   it will go to PD if it's on private property and we have to

 5   work on those type of issues.        So it all depends on what type

 6   of property the issue is on.

 7   Q.   Okay.

 8               THE COURT:     So, Mr. Hall, is there any set number of

 9   days that a property has to be tagged before it can be taken

10   by the City?

11               THE WITNESS:    There is not.

12               THE COURT:     Okay.   Is there any notice when the

13   property is taken about what the person can do to retrieve the

14   property?

15               THE WITNESS:    No, Your Honor, there is not.

16               THE COURT:     Thank you.

17   BY MR. ARNSON:

18   Q.   Okay.    Once the property -- I guess my final questions --

19   and I'll confer with Ms. Stuhan to see if we have anything

20   further.

21               THE COURT:     Can I have one more question?

22               MR. ARNSON:     Yes, yes, yes, please.

23               THE COURT:     Is there any differentiation between the

24   types of property involved?        For instance, are these legal

25   papers?

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 20 of 27
                 Scott Hall - Direct Examination by Mr. Arnson            61



 1              THE WITNESS:    Yes.

 2              THE COURT:     Is there birth certificates as opposed

 3   to, I don't know, empty food containers or something like

 4   that?   Is there any differentiation?

 5              THE WITNESS:    Yes, Your Honor.     The outreach teams

 6   try to identify through different varieties of -- try and

 7   identify whose property it might be through medication

 8   bottles, paperwork that has any kind of identifying names and

 9   trying to connect through that way, because we also do have a

10   sophisticated information system that most homeless service

11   providers enter data into, which is called HMIS.

12              So if we can find a name for an individual, we can

13   look them up in there and see if the individual is at a

14   shelter or any other place like that to help us engage with

15   them.

16              THE COURT:     All right.   So when the City of Phoenix

17   takes the property, what does it do with it?

18              THE WITNESS:    Out in that community after that time

19   it would be disposed of if there's no --

20              THE COURT:     Okay.   So if you come out and you take

21   the property, you destroy the property?

22              THE WITNESS:    Yes.

23              THE COURT:     Okay, thank you.

24              THE WITNESS:    Can I make one amendment to that, if I

25   may?

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 21 of 27
                                                                           63



 1   determinative on the constitutional standard.

 2               THE COURT:    So let me tell you what concerns me --

 3               MS. STUHAN:    Sure.

 4               THE COURT:    -- and you can address it.

 5               It sounded to me like there is not a consistent

 6   policy concerning how long a property has to be un --

 7   unclaimed before it is seized and destroyed.

 8               Did I miss something?

 9               MS. STUHAN:    Your Honor, I think that in terms of

10   the notice, as Mr. Hall testified, they do -- because there's

11   not the high concentration, it's individual --

12               THE COURT:    Well, let me step back.      Let me step

13   back --

14               MS. STUHAN:    Yeah.

15               THE COURT:    -- and make sure we're both on the same

16   page.     Notice for me is a separate issue right now.

17               MS. STUHAN:    Okay.

18               THE COURT:    I'm just talking about the number of

19   days before the City can take property and I did -- I think I

20   understood Mr. Hall to say there is no set number of days

21   before property can be taken.

22               MS. STUHAN:    Your Honor, I agree with that.        I think

23   that what --

24               THE COURT:    And I think -- okay, I'm sorry.        Let me

25   let you finish.

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 22 of 27
         Ronnie Lee Massingille - Direct Examination by Mr. Keenan 77



 1               COURTROOM DEPUTY:     Thank you.    Please raise your

 2   right hand.

 3   (Witness is sworn.)

 4               THE WITNESS:    I do affirm.

 5               THE COURT:     Thank you.   Please take our witness

 6   stand.

 7                              DIRECT EXAMINATION

 8   BY MR. KEENAN:

 9   Q.   Good afternoon, Mr. Massingille.

10   A.   Good afternoon.

11   Q.   Are you currently unsheltered?

12   A.   I am.

13   Q.   And do you currently live unsheltered in the City of

14   Phoenix?

15   A.   I do.

16   Q.   Are you familiar with the Zone?

17   A.   I am.

18   Q.   Were you near the Zone yesterday?

19   A.   I was.

20   Q.   And what did you observe yesterday at the Zone?

21   A.   Well, yesterday at the Zone they had the white trucks out

22   there.     They were moving stuff off the corner and everything.

23   They were not putting anything in yellow tape or anything.

24   They had the white trucks out there.        They had the little mini

25   dozer and they was dumping the material into the back of the

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 23 of 27
         Ronnie Lee Massingille - Direct Examination by Mr. Keenan 78



 1   truck.   That was on 9th Street and Jackson.

 2   Q.   When you say "they," who are you referring to?

 3   A.   I'm talking about the City workers and police.

 4   Q.   So you saw Phoenix Police officers in uniform?

 5   A.   Yes, I did.

 6   Q.   And when you say "dozer," what are you describing?

 7   A.   A mini bobcat front end loader which picks up the

 8   material off the ground and dumps it into the back of the

 9   truck.

10   Q.   And what type of truck does it dump the material into?

11   A.   It is a dump truck that's painted white, had the City

12   emblems on it.

13   Q.   Do you recall approximately what time you saw this

14   activity in the Zone yesterday?

15   A.   Can I grab my phone real quick?

16   Q.   Is it -- do you have it on you?

17   A.   Yes, I do.

18   Q.   Will that refresh your memory?

19   A.   It will.     I took a picture of it.

20             MR. ARNSON:     And, Your Honor, the defendants will

21   just request either to see it or a copy or something.

22             THE COURT:     Mr. Massingille --

23             THE WITNESS:    It was approximately around --

24             THE COURT:     -- have you found the picture?

25             THE WITNESS:    Yes, your Honor.

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 24 of 27
             Brian Freuenthal - Direct Examination by Mr. Arnson       83



 1   (Witness is sworn.)

 2               COURTROOM DEPUTY:   Thank you.   Please take our

 3   witness stand.

 4                           DIRECT EXAMINATION

 5   BY MR. ARNSON:

 6   Q.   Commander Brian Freudenthal?     Brian Freudenthal is your

 7   name?

 8   A.   Yes.

 9   Q.   Thank you.    Commander Freudenthal, you were present in

10   the courtroom for the testimony that Mr. Massingille just

11   gave, were you?

12   A.   Yes, I was.

13   Q.   Okay.    And you heard him testify that on -- that this

14   incident happened yesterday, which would have been November

15   13th, 2022.    Did you hear that?

16   A.   Yes.

17   Q.   Okay.    And you heard that it happened -- I believe it was

18   in the area of 9th Avenue and Jackson.       Is my recollection

19   correct, consistent with yours?

20   A.   That's correct.

21   Q.   Thank you.    Do you have any idea was there something

22   transpiring with respect to police activity on 9th Avenue and

23   Jackson yesterday?

24   A.   So it's a combination.     We were conducting a homicide

25   investigation that occurred, and we have evidence that it

                        UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 25 of 27
             Brian Freuenthal - Direct Examination by Mr. Arnson         84



 1   occurred on the southwest corner of 9th Avenue and Jackson

 2   where those police cars were parked.

 3               So we were part of that and then we were also --

 4   because of that homicide, obviously, some of the crew out

 5   there was concerned for their safety.

 6   Q.   Okay.    And I know you haven't seen the video, but if it's

 7   appropriate I can represent that in that video, in at least

 8   one of the pictures, there was some yellow caution tape around

 9   the area.

10               Do you recall police putting up yellow caution tape

11   around the area?

12   A.   So I was out there prior to the caution tape being put up

13   there; but, yes, there was caution tape put up there.       We've

14   had a series of fires.     As you can see from the video, there

15   is a building there.     We had three fires that actually were up

16   against the building.     We also had a fire on -- in that exact

17   location where a tree went up in flames.

18               So a lot of that property is burnt property.     It had

19   been burnt in fires.     We had done outreach in there for a

20   couple weeks prior to -- I'm sorry, not we, but Scott Hall and

21   Rachel and Human Services had been doing outreach for a couple

22   weeks prior to that.

23               I believe they contacted at least fifteen

24   individuals out there, most of which had been housed, had been

25   sheltered, and that property was discarded and left behind.

                        UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 26 of 27
                                                                         86



 1   Q.   Okay.    So the City was continuing an ongoing

 2   investigation?

 3   A.   That and obvious safety concerns because that had just

 4   occurred.

 5   Q.   Okay.    And individuals at some point had to have been --

 6   were there unsheltered individuals at some point on that

 7   corner that had to be closed?       I'll try that question again.

 8               Were there unsheltered individuals whose property --

 9   who had to remove their property from the area where you were

10   doing your investigation?

11   A.   From the southwest corner there was property impounded

12   based off of the investigation on the southwest corner,

13   correct.

14   Q.   Okay.

15   A.   But those dump -- those trucks were not related to that

16   investigation.

17   Q.   Okay.    Do you have any idea what those trucks were?

18   A.   I believe they were City of Phoenix street trucks.

19   Q.   Okay.    And what was their purpose of being present on the

20   scene?

21   A.   So they were cleaning up a lot of the burnt, discarded

22   material that was left behind from fires and from camps that

23   were left behind.

24   Q.   I understand.

25               MR. ARNSON:   Okay, I don't think I have further

                         UNITED STATES DISTRICT COURT
 Case 2:22-cv-02041-GMS Document 160-1 Filed 07/18/24 Page 27 of 27
                                                                      92



 1                         REPORTER'S CERTIFICATION

 2

 3                    I, TERI VERES, do hereby certify that I am duly

 4   appointed and qualified to act as Official Court Reporter for

 5   the United States District Court for the District of Arizona.

 6                    I FURTHER CERTIFY that the foregoing pages

 7   constitute a full, true, and accurate transcript of all of

 8   that portion of the proceedings contained herein, had in the

 9   above-entitled cause on the date specified therein, and that

10   said transcript was prepared under my direction and control.

11                    DATED at Phoenix, Arizona, this 25th of

12   January, 2023.

13
                                                  s/Teri Veres
14                                            TERI VERES, RMR, CRR

15

16

17

18

19

20

21

22

23

24

25

                         UNITED STATES DISTRICT COURT
